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    28 2,1777,        XI. Aild be it fut/ti naAedby the authority a[fid,       That if any perfon (hall hereafter vote at
        *o-v.      eledion, who by tw thall riot be entitled to vote at fuch eleaion, he (hall forfeit and pay the furn any
  Pen. onpvrsons five pounds lawful money of this (tate ; to be recovered with                                                of
  voti wo artecord having cognizance thereof, one half to the                      colts, by acion of debt in any court of re-
  1101quaifiied.                   I                                    juftices of the county wherein fuch eleaion thall be
  Vs. 2, 193.     had, to be applied towards lellening the county tax, and the other half to him or them who (hall fue for
                  the fame; and where any fuit thall be brought againft any perfon for voting zs aforefaid,
                                                                                                                  without hay-
                  ing a right to fusch vote, the Onus Probandi thall lie upon the defendant.
  Pen. on candi.     XII. And be it enafed by the authori:y aforefaid, That if any perfon (hall at any time
  darse iig re. ele6ion, either diueffly or indirectly, give                                                before or after any
  %wzrds, &c,                                                    any money, gift, gratuity, or reward, to any elelor or
                                                                 ancitcr~ry                  o           o ~ ~ o elec-
                  tors, or to any county or town in order to be eleced, or to procure any other perfon to be elected lc     as a
                 meniber of the general affembly, every perfon fo olfending thall forfeit and pay five hundred pounds, law-
                 ful money of this flate ; to be recovered by ation of debt, in any court of record having cognizance there.
                 of, with cofls, and thall be incapacitated to ferve as a member during the continuance of that general
                 aflmibly, for which fuch eleaion (hall be made as aforefaid.
 ThDegate%, &C. XIII. And be it further declareI and ena3ed by the authority qforf/aid, That the delegates
         '"^it in the congrefs of the United States, and officers of the courts                                from this flate
                                                                                    of admiralty and courts of equity, thall be,
                 and are hereby declared to be incapable of being cleted as members to ferve in the general affembly, or
                 to enjoy feats therein ; and any member of the general afenbly who that accept any fuch oflice, thall
                 thereby vacate his feat therein.
                  XIV. Repealed, Vol. 2, 177.
No slierlcor.      XV. And be it further enae7ed by the authority aforefaid, That if at any time it (hall happen that there
ner to take the (hall be no theriff in any county qualified according to law, the coroner or coroners
1'OII                                                                                                 in fueh  county is, and
J1I. 2. 14..   are hereby empowered to hold the eletion for fuch county ; and fuch theriff or coroner, within ten days
               after every election, thall, at the requeft of any perfon eleded to ferve in the general affembly, or other
               perfon in his behalf, caufe fair copies of the lilts of votes, and the number of ticket ballots for each can-
               didate, to be made out and delivered to the perfon requefting the fame, or to his order, which lifts and
               numbers (hall be figned by the returning offlicer ; and if any officer (hall refufe fo to do, or to make elec-
               tions in any other manner than by this at is dircEted, or (hll neglea or refufe to make returns of the
               elections by him to be made or taken, the officer fo offending thall forfeit and pay five hundred pounds,
               lawful money of this fRate; to be recovered by ation of debt, in any court of record having cognizance
               thereof, with colts, one half to the governor for the time being, for the tfe of the Rtate, and the other
               half to fuch perfon as fhall fire for the fane,
                  XVI. Repealed, Vol. 2, .3,

CHAP. 5.                         An a7 for direing the method oJ appointingjurors in all caig.s, caVil and c. iminal
 Iovided forby subsequent ani.
CHAP. 6.       An ac7 to amend an ad7 for declaring what crimes and prarilces againfi th:flate/fall be treafn, and wh t lall
1, 1777, 6.       be mn/pri/on of treakn, a d providing puni/hnt'r adequate to crimes of both cy' s, and j r pirventing the dan-
1780, 13.         gers wuhich may (rfe rown peoford           d to thedar.le.
Persons owing       E it enaied by the General lifembly of the jlute of North-Corolina aid! it is hr:by enaRed by the authority
allegiance.           of thefane, That all and every perfon and perfons (prifoner3 of war excepted) now iiihibiting or re-
               fiding within the limits of the ftate of North-Carolina, or who fhall voluntrrily come into tLe fane here-
              after to inhabit or refide, do owe and fhall pay allegiance to the Rate of North-Caro';,:.
Wheraoned         II. .Ind be itfurther enaledby the authority aJor/fzid, That if any perfon or perfons helonging to or refiding
              within this (Rate, and under the protection of its laws (hall take a coninti Won or conimiffions         from the
              king of Great-Britain, or any under his authority, or other the enemies of this flate, or the United States of
              America, or fhall levy war againft this flate, or the government thereof, or knowingly and wilfully thall
              aid or aflift any enemies at open war againfl this flate, or the United States of America, by joining their
              armies, or by inlifting, or procuring or perfitading others to inlift for that purporc, or by furnilhing fuch
              enemies with arms, ammunition, provition, or any other article for their aid or comfort, or (hall form, or
              be in any wife concerned in forming, any combination, plot or confpiracy, for betraying this Rlate, or the
              United States of America, into the hands or power of any foreign enemy, or thall give any intelligence
   a          to the enemies of this flate for that purpofe, every perfon fo ofFending, and being thereof legally convia-
              ed by the evidence of two fuflicient witieffes, or flanding mute, or peremptorily challenging more tharx
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  thirty five jurors, in any court of oyer and termider, or other court that (haill and may be offabliflied for 2,1777. M
  the trial of fuch offences, thall be adjudged guilty of high treafon, and (hall fuffer death witiout the benefit Lv-1
 ,of clergy, and his or her eftate (hall be forfeited to the flate. Pr, vid-d, That the judge or judges of the Punishment.
  court wherein fuch convia ion may be, (hall and may order and appropriate fo much of the traitor's eftate
  as to him or them may appear fullicient for the fupport of his or her family.
     Ill. And be it fuirtherenacted by the authority aforefaid, That if any perfon or perfons within this flate (hall What mispriii.
  attempt to convey intelligence to the enemies of this (tate, or of the United Riates, or (h all publicly and 01 of treason.
  deliberately fpeak or write againft the public defence, or (hall malicioufly and advifed'y endeavour to excite
  the people to refift the government of this flate, or perfuade the1 to return to a dependence on the crown
  of Great.Britain, or lall knowingly fpread falfe and difpiriting news, or malicioully and advifedly terrify            -
 and-difcourage the people from enlifting into the fervice of this flate, or the United States, or (hall (ihr up
  or excite tumults, diforders, or infurreaions in the flate, or difpofe the people to favo-r. the enemy, or op-
  pofe, or endeavour to prevent the meafures carrying on in fupport of the freedom and independence of the
 faid United States, every fuich perfon or perfons, being thereof legally conviaed by the evidence of two Trial.
 or more creditable witnefres, or other fuflicient teftimony, (hall be adjudged guilty of mifprifion of treafon,
  and (hall fuffer imprifonment during the war, and forfeit to the flate one half of his, her or their lands, Punishment.
  tenements, goods and chattels.
     IV. And be it further enaed by the authority afore/iid, That all offences by this aa declared mifprifion ""ere cogni4.
 of treafon, fhall be cognizable before any juftice of the peace of the county where the offence was com- ablc.
 mitted, or where the offender can be found ; and every juftice of the peace within this flate, on complaint
 to him made on the oath or afflirmation of one or more creditable perfon or perfons, (hall caufe fuch offender P"ceedinr, on
 to come before him, and enter into a recognizance, with one or more fullicient furety or fureties, to be                  a on
 and appear at theirext fuperior court of the diftri& wherein the offence was committed, and abide the
 judgment of the laid court, and in the mean time to be of the peace and good behaviour to all people
  within the (tate ; and for want of fuch furety or fureties, the (aid juflce (hall and may commit fuch of-
'fender either to the gaol of the county or diftria where the offence was committed, and appoint a guard
  for the fafe conveying him to fuch gaol ; and all perfons charged on oath or affirmation with any crime or
  crimes by this ;. declared to be treafon againft the flate, (hall be dealt with, and proceeded againft, in
 like manner as the law direas in refpea of other capital crimes.
     V. And whereas the fafety of the flate, and the prefent critical fit'aation of affairs, make it neceflhry Persons to take
  that all perfons who owe or acknowledge allegiance or obedience to the King of Great-Britain (hould be
  removed out of the Rtate : Be it enarled by the authority aforefaid,'Thatall the late onricers of the King of the oath ofalle.
  Great-Britain, and all perfons (Quakers excepted) being fubjeds of this (late, and now lI b;g therein, or giance.
  who (hall hereafter come to live therein, who have traded immediately to Great-Brltain or Ircland within
  ten years laft plift, in their own right, or a~ted as failors, florekeepers, or agents, here or in any of the
  United States of America or Ireland, (hall take the following oath of abjuration or allegiance, or depart out
  of the flate, viz.
  4 1 WILL bear faithful and true allegiance to the tate ofNorth-Carolina; and will truly endeavour to
           1fupport, maintain, and defend the independent government thereof. againft George the third king
   c of Great-Britain, and his fuccellbrs, and the attempts of any other perfon, prince, power, flate or po-
   c tentate, who by fecret arts, treafons, confpiracies or by open force, (hall atcempt to fubvert the fame, and
   " will in every refpe& coridu& myfelf as a peaceful orderly fubjeat; and that I will difclofe and make known
   " tothe governor, fomemember of the council of flate, or fome juftice of the fuperior courts or of thepeace
   i all treafons, confpiracies, and attempts, committed or intended againit the flate, which thall come
   " to my knowledge.
   And that all perfons being Quakers, Moravians, Menonifts, and Dunkards, and under the circumflances
   above mentioned, tball make the following affirmation, or depart the flate
   I I A. B. do folemnly and fincerily declare and affirm, that I will bear true fidelity to the independent Qual ers affir.
           (flate of North-Carolina, and to-the powers, and authorities which are or may be eflablifhed for the maion,
   i good government thereof ; and I do renounce any fidelity to the prefent king of Great-Britain, his heirs
   c and fucceffors ; and that I will difklofe and make known to the governor, fome member of the council
   " of flate, Judge of the fuperior court, or juftice of the peace, all treafons, confpiracies, or attempts, com
   i mitted or intended agamint the fame, which thall come to my knowledge." 4
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230 2,1777. And the faid oath or aflirmation (hall be taken and fubfcribed in open court, in the county where the
    k,,ev'j perfon or pefons taking the fama (hall or do ufually refide.
Justices may      VI. xnj be it lurther enaed by The authority aforefaid, That the county courts in each and every county,
issue citations. and every juftice of the peace in each refpeaive county, (ball have full power to iffue citations againit per-
                  fons coming within the above defeription, as olicers, merchants, traders, fators, iforekeepers, or agents,
                  and to demand furety on recognizance if neceffary, and to require their attendance at the next enfuing
                 coutt to be held for the county : and if any perfon fo cited (due proof being made thereof) thall fail or
                 neglea to attend, or attending (hall refufe to take the faid oath or aflirmation, (as the cafe may be) then
                 the faid court (hall and may have full power and authority to order fuch perfon to depart out of this flate
                 to Europe or the Weft-Indies, within fixty (lays, and may take bond and fecurity, in the name of the go-
                 vernor, for the benefit of the late, for faithful compliance with fuch order ;'and if any perfon fo ordered
                 thall fail or neglea to depart within the limited time, fuch bond (hall be forfeited to the flate, without good
                 and fufficient reafons (hewn to, and approved of by the governor and council ; and the jufaices, or any of
                 them, in the county wherein the perfon fo failing or negleaing to depart (hall be found, thall and may
                 caufe him to be apprehended and brought before the court of the county where the order was made; and
                 the faid court thall in fuch cafe fend the perfon fo offending ac fpcedily as may be out of the flate, either to
                 Europe or the Weft-Indies, at the coft and charges of fuch offender, and to this end (hall and may dire&
                 the clerk of the court to ifflue an order or orders to any (heriff in the (ate to feize and fell fo much of the
                 goods and chattels, lands and tenements, of fuch perfon within his bailiwick, as may be judged neceffary
                 by faid court to defray fuch coils and charges, together with the cofts and charges of apprehending and
                 confining fuch perfon until he (hall be fent out of the flate; and the (heriff to whom fuch order of court thall
                 be dire6led, is hereby required to obey the fame, and to execute proper conveyances; and to return the mc-
                 ney arifing by any fale made byvirtue of fuch order,after dedualing his fees and commiffions asin other cafes,
                 to the next county court of the county from whence fuch order ifflued, under the penalty of five hundred
                 pounds, current money ; to be recovered by aaion of debt, in any court having cognizance thereof, one
                 half for the ufe of the (ate, the other half to the perfon that (hall fue for the fame ; and if any furplus (hall
                 remain after paying all cofts and charges for apprehending, confining, and fending fuch perfon out of the
                 ftate, then the county court flall caufe fuch furplus to be paid the owner. Providedneverthe/efr, 'hat all
                 and every fuch perfon and perfons (hall have liberty to fell and difpol2 of his or their eftates, and after
                 fatisfying all juft demands, to export the amount in produce (provifions and naval-flores excepted) and
                 may alfb nominate and appoint an attorney or attornies to fell and difpofe of his or their eflates, for his
                 or their ufe and benefit ; but in cafe any real eftate belonging to any fuch perfon (hall remain unfold for
                 more than three months next after the owner thereof hath departed this Rate, the fame (hall be forfeited
                 to and for the ufe of the public.
Pen. onpersons      VII. And be itfurher enai~ed, That if any perfon fo departing, or fent off from this (ate, (hall return to
xeturning.     the fame, then fuch perfons thall be adjudged guilty of treafon againit the flate, and flull and may be pro-
                ceeded againft in like manner as is herein diretled in cafes of treafon.
                   VIII. And whereas among other things it was enated in an adl, entitled " An a8l for declaring what
                crimes and pra~lices againft the flate fhall be treafon, and what (hall be mifprifion of treafon, and providing
                puniihments adequate to crimes of both claffies, and for preventing the dangers which may arife from per-
                fois difaffieflod to the flate," that each and every juftice in each refpeaive county may cite any perfon or
                perfons to appear before the county court where fuch perfon or perfons ufually refide, and take the afore.
               faid oath or affirmation; and in cafe of non-atteidance or refufal, the faid court (hall and may have full
               power to compel fuch perfon or perfons       to leave the (ate, under the fame regu'ations herein mentioned
               in other  cafes.   And  as  fome  fcruples have arifen with refpea to the manner by law rcquired for the fer-
               vice of fuch cit .tions, and as by many it has been held that a fervice upon the perfon of irn intended to
               be cited was neceftry, before his attendance in court could be legally compelled, as many lufpeaed perfons
               by continual abfence from their place of abode, or frequently removing from thence, have rendered the
               fervice of fuch perfonal citations difficult, and in fome cafes impra~licable, whereby they evade the intein-
               tions of the raid a&, and cannot be obliged to take the faid oath prefcribed, nor be made fubjeal to the pe-
               nalties ordained for negleding or refufing the fame : and whereas there is great reafon to belie ve that there
               are divers perfons whofe intentions are inimical to the flate, who would in cafe of invafion by our enemics,
               or the expedlation of immediate fupport of them, carry fuch intentions into praaice, but who artfully in
               their open demeanor and deportment betray no fuch defign, whereby from not incurring particular fufpici-
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on, they have efcped being cited ; and as it becomes the duty of every menber of fooiety to give proper 2,1777. 231
allurance of fidelity to the govkrnment from which lie enjoys protelion, and by their refufal fo to do, the            J
voice of reafon and juftice, confirmed by the rradice of all nations, proclaim that they fhould no longer
enjoy the privileges of freemca of the faid flate ; and as the penalties ordained by the faid ad have been
in a great meafure evaded by the difficulty or impollibi;ily of procuring veffels to tranfport all fuch recufants
beyond fea, or from their being unable to pay the expence of the voyage, by which means fuch perfons ftill
remain within this (tate, without fuffering the penalties they have juftly deferved ; Be itfjirther enaded by County divitled
the authority aforj-id, That the county court of each refpedive county which (hall fit after the Jaft day of into disrias,
February, shall divide the county into feveral diftrids, in each of which thall relide one or more juftices of and oath tob!
the peace, which faid juflices within their. refpedive diftridts are hereby enjoined and required to adminif- administed.
ter fuch oath of allegiance or affirmation, as the cafe may be, to all free male perfons above fixteen years
of age (perfons non compos nuntir, prifoilers of war, only excepted) and fuch juffice or juftices in their ref.
pedtive diftrifts fo allotted to him or them, (hall immediately after the fitting of the faid court, in dif-
ferent parts of the faid county, one of which thall be the court-ioufe of the fame, and alfo upon the church,
if any there be, poft and publifh a notice in writing of the places and times when and where lie or they
will attend within their refpedive diftrifts to adminifter fuch oath or affirmation ; and all fuch perfons
who are inhabitants of the faid diltri6ls refpeltively (and it is declared that a refidence of one week (hall
in this inflance conititute any perfon an inhabitant, feafaring perfons and foreign traders excepted) being
above the age of fixteen years, and of found mind, (hall at fuch time attend upon fuch juftice of the peace,
and take the oath or affirmation required, as the cafe may be, and fubfcribe the fame in a book which
fuch juftice or juftices thall keep for that purpofe, or in cafe of fuch juror or affirmant not being able to
write, the juflice fhall write fuch juror or affirmant's name, which book or lift thall at the next fucceed-
 ing court be returned to the (aid court, together with the names of thofe within his or their refpedive
diftrid refuting or negleling the fame; and if any perfon (fuch only as are by this ad except-
 ed) thall fail to attend, or attending at fuch time and place as he ihall have been warned by fuch public
notice, thall refufe to take the oath, or make fuch affirmation, as the cafe may be, except excufed by P'oceedrgsa.
 ficknefs or unavoidable neceffity, or other fuflicient reafon, tobe adjudged of by the next county court, 1            r s
 the party offering fuch excufle proffering at the fame time to take fuch oath or allirmation, as the cafe may the rath, who
be, which in this cafe fuch county court are direaed to adminifter, fuch perfon or perfons fo offering, neglen 0 rc*
fhall be ordered by the faid county court next after fuch failure or negledc, to take the faid oath, or quit fuse.
the ftate, and depart to the Weft-Indies or Europe in fixty days ; and if he or they thall fail fo to do, and
 thall at the expiration of fuch term be found within this flate, then the county court (hall and may, at their
 difcretion, either exercife the fame power and authority with refped to fuch perfon or perfons, in order
 to compel his or their departure out of this flate, as is herein before provided, with regard to the late of-
 ficers of the King of Great-Britain, and perfons who have traded to Gre.:t-Britain or Ireland within ten
 years lailt paft, or been concerned for, or employed by perfons trading thereto, within the time aforefaid,
 or permit him to remain within the flate.
    IX. And br it/urtherenaaedby the authority fortfaid, That all perfons failing or refuting to take the oath Disabiliifsof
 of allegiance, and permitted by the county courts, as immediately aforefaid, to remain in the flate, (hall personssuflered
 be adjudged incapable and difabled in law to have, occupy or enjoy, any office, appointment, licence, or to remain.
 elelion of truft or profit, civil or military, within this flate, and thall not be capable of being ele6ded to,
 or aiding by their votes to elect another to be a member of affembly, and (hall not by themielves, or by
 deputy, attorney or truftee, execute any fuch office, truft or appointment, and fhall be difabled to profe-
 cute any fuit at law or equity, or to be guardians, executors or adminiftrators, or capable of any legacy,
 or deed of gift of lands, and fhall be difabled from taking any lands by defcent or purchafe, or conveying
 lands to others for any term longer than for one year, and thall not keep guns or other arms within his
 or their houfe, but the fame may be feized by a written order of a juflice of the county in which he or they
 refide; and after the expiration of the fhid fixty days, lie or they (hall not be perraitted to depart this flate
 without permiffion firfi had and obtained from the governor and council; and in cafe of being fuffered to
 depart, thall give bond and fulficient fecurity, if fuch thall be required, not to be aiding to the enemies
 of this Rate during his or their ablfence; and in cafe of their departure without fuch permiffion had, lie or
 they (hall forfeit all their goods and chattels, lands and tenements, to the ufe of the flate. Provided ne. Proviso,
 vertelefi, That all and every perfon who has already taken the oath, or made the affirmation prefcribed,
 before any authority competent by law to receive the fame, upon his producing a certificate of the anie to
